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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

SAGNI JIRATA                                  §        CIVIL ACTION NO. __________
Plaintiff,                                    §
                                              §
V.                                            §
                                              §
WALMART, INC.                                 §
Defendant.                                    §        NOTICE OF REMOVAL

                                NOTICE OF REMOVAL
TO THE UNITED STATES DISTRICT COURT:

        Defendant WALMART STORES TEXAS, LLC, incorrectly sued as Walmart,

Inc., pursuant to 28 U.S.C. §§1441 and 1332, provides notice of removal of this action

styled Sagni Jirata v. WalMart, Inc., Cause No. 1167041, currently pending in the at Law

No. 1 County Court of Harris County, Texas, and in support thereof, respectfully shows

unto this Court as follows:

        1.      Plaintiff Sagni Jirata filed her Original Petition on April 5, 2021, claiming

damages from a slip and fall. Plaintiff served Defendant with the citation on April 26,

2021; therefore, this notice is timely under 28 U.S.C. § 1446(b).

        2.      Pursuant to 28 U.S.C. §1446 and the Local Rules of the United States

District Court for the Southern District of Texas, attached are the following:

        a.      All executed process in the case (Exhibit A);

        b.      Pleadings asserting causes of action and all answers to such pleadings

                (Exhibit B);

        c.      All orders signed by the state judge (none);

        d.      The docket sheet (none);

        e.      An index of matters being filed (Exhibit C);

        f.      A list of all counsel of record, including addresses, telephone numbers,

                and parties represented (Exhibit D).



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These documents represent all that are presently available as required.

        4.      The District Courts of the United States have original jurisdiction over this

action by reason of diversity of citizenship between the parties. 28 U.S.C. §1332.

Plaintiff’s Original Petition alleges that Plaintiff Sagni Jirata is lives in Houston, Harris

County, Texas, and therefore is a citizen of the state of Texas. Defendant Walmart Stores

Texas, LLC., the proper defendant for these claims, is a corporation incorporated under

the laws of the State of Delaware with it is principal place of business in Bentonville,

Arkansas, and thus is a citizen of the States of Delaware and Arkansas. Walmart Stores

Texas, LLC. is not now, nor was it at the time this action was commenced, a citizen of

the State of Texas. Walmart, Inc., the parent company of Walmart Texas Stores, LLC, is

incorporated in Delaware, with its principal place of business in Bentonville, Arkansas.

        5.      The sole member of Walmart Stores Texas, LLC, is Walmart Real Estate

Business Trust, a Delaware business trust with its principal place of business in Arkansas.

The sole unit holder of Walmart Real Estate Business Trust is Walmart Property Co., a

Delaware company with its principal place of business in Arkansas, which is a wholly

owned subsidiary of Walmart Stores East, LP. Walmart Stores East, LP. is a Delaware

limited partnership with its principal place of business in Arkansas, of which WSE
Management, LLC. is the general partner, and WSE Investment, LLC, is the limited

partner. WSE Management, LLC and WSE Investment, LLC are both Delaware limited

liability companies with their principal places of business in Arkansas. The sole member

of WSE Management, LLC, and WSE Investment, LLC, is Walmart Stores East, LLC

(f/k/a Walmart Stores East, Inc.), a Delaware limited liability company with its principal

place of business in Arkansas, whose parent company is Walmart, Inc.

        6.      Plaintiff’s Original Petition seeks damages up to $250,000. Thus the

amount in controversy exceeds the sum of seventy-five thousand dollars ($75,000.00),

exclusive of interests and costs.




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        6.         Removal of this cause of action is proper under 28 U.S.C. §1441. It is a

civil action brought in state court and the District Courts of the United States have

original jurisdiction over this action under 28 U.S.C. §1332, since the plaintiff and the

defendant are diverse in citizenship.

        7.         As required by 28 U.S.C. §1441, County Court at Law No. 1 of Harris

County, Texas falls within the geographical purview of this Court, and thus, venue is

proper in the United Stated District Court of the Southern District of Texas, Houston

Division.

        8.         Written notice of the filing of this Notice of Removal is being promptly

given to Plaintiff and a notice of Filing of Notice of Removal is promptly being filed with

the at Law No. 1 County Court in Harris County, Texas, as required by 28 U.S.C.

§1446(d).

        WHEREFORE, PREMISES CONSIDERED, Defendant Walmart Stores Texas,

LLC prays that the state action now pending in at Law No. 1 County Court in Harris

County, Texas, be removed to this Court, and for any further relief to which Defendant is

justly entitled.



                                               Respectfully submitted,
                                               MEHAFFYWEBER, P.C.

                                               By:/s/Maryalyce W. Cox
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                                             WALMART STORES TEXAS, LLC


                                CERTIFICATE OF SERVICE

       In addition to e-filing, this is to certify that a true and correct copy of the above
and foregoing instrument has been forwarded by Certified Mail, return to receipt
requested, to all counsel of record on this the 26th day of May, 2021 pursuant to both the
Texas Rules of Civil Procedure and the Federal Rules of Civil Procedure. .


                                                     Maryalyce W. Cox
                                                     Maryalyce W. Cox




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